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                      UNITED STATES BANKRUPTCY COURT
                  WESTERN DISTRICT OF MICHIGAN (GRAND RAPIDS)
IN THE MATTER OF:
Wesley Howard Magnan,                                    Bankruptcy Case No. 15-03757-jwb
Sandra Christine Magnan,                                 Honorable James W. Boyd
                                                         Chapter 7
                             Debtors.
                                        /
   ORDER GRANTING MOTION FOR DETERMINATION OF CONSEQUENTIAL
                VALUE PURSUANT TO 11 U.S.C. § 521(a)

                 PRESENT:           Honorable James W. Boyd
                                    United States Bankruptcy Judge
       Kelly M. Hagan, the Chapter 7 Trustee, having filed a motion for determination of
consequential value; notice of said motion having been served upon all parties in interest; no timely
response or objection having been filed, and the Court being fully advised in the premises,
       IT IS ORDERED that the Trustee’s Motion for Determination of Consequential Value
Pursuant to 11 U.S.C. § 521(a) is granted.




                                            END OF ORDER
Prepared by:
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